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                     EXHIBIT 62
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


Government of the United States Virgin          CASE NO.: 1:22-cv-10904 (JSR)
Islands,

                             Plaintiff,

       vs.

JPMorgan Chase Bank, N.A.,

                             Defendant.
                                            /


       JPMORGAN CHASE BANK, N.A.’S RESPONSES AND OBJECTIONS TO
              PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS

       Defendant JPMorgan Chase Bank, N.A. (“JPMC”) hereby serves its Responses and

Objections to Plaintiff’s First Request for Admissions (“Requests”) pursuant to Federal Rules of

Civil Procedure 26 and 36. JPMC denies all Requests, except with respect to anything expressly

admitted herein.

                              PRELIMINARY STATEMENT

       These objections and responses are made solely for the purposes of the above-captioned

case. Each of JPMC’s objections and responses to the Requests is based on information and

documents presently available to JPMC after reasonable and diligent inquiry. Particularly with

respect to (but in no way limited to) Request Nos. 20, 27, 170, 172, 186, and 189, JPMC’s

responses are also based on Mr. Dimon’s current recollection of events. Discovery is ongoing,

and JPMC specifically reserves the right to amend or supplement its objections and responses as

necessary, including in the event further information and documents are discovered or produced

by JPMC after discovery has been completed. In addition, JPMC’s objections and responses are




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       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 12:

Admit that Epstein referred Joseph Pagano, CEO, Chairman, and President of Sentigen Bio
Services, as a client or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 12

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 12 because it does not specify a relevant

time frame. JPMC further objects to Request No. 12 because “referred” and “for additional

activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean that Epstein

contacted JPMC about Pagano becoming a JPMC Private Bank customer. JPMC further objects

to Request No. 12 because it is improperly compound and conjunctive. Fed. R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 13:

Admit that Epstein referred Andrew Farkas, founder and CEO of Island Capital Group LLC, as a
client or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 13

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 13 because it does not specify a relevant

time frame. JPMC further objects to Request No. 13 because “referred” and “for additional

activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean that Epstein

contacted JPMC about Farkas becoming a JPMC Private Bank customer. JPMC further objects to

Request No. 13 because it is improperly compound and conjunctive. Fed. R. Civ. P. 36(a)(2).




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       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 14:

Admit that Epstein worked with JPMorgan to develop a donor advised fund with The Bill and
Melinda Gates Foundation and Bill Gates.

RESPONSE TO REQUEST FOR ADMISSION NO. 14

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 14 because it does not specify a relevant

time frame. JPMC also objects to Request No. 14 as vague and ambiguous because “worked with”

and “to develop” are not defined. JPMC will interpret these phrases to mean JPMC and Epstein

jointly worked toward developing a donor advised fund with The Bill and Melinda Gates

Foundation and Bill Gates. JPMC further objects to Request No. 14 because it is improperly

compound and conjunctive. Fed. R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

admits that Epstein and JPMC personnel discussed a potential donor advised fund relating to The

Bill and Melinda Gates Foundation and Bill Gates.

REQUEST FOR ADMISSION NO. 15:

Admit that You communicated with Epstein regarding the fee that he would receive in connection
with any donor advised fund established with The Bill and Melinda Gates Foundation and Bill
Gates.

RESPONSE TO REQUEST FOR ADMISSION NO. 15

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 15 because it improperly poses a

hypothetical question. See Fed. R. Civ. P. 36(a)(1) (proper scope of RFAs); Douglas v. Harry N.

Abrams, Inc., No. 13-CV-2613 (VSB), 2016 WL 11645646, at *4 (S.D.N.Y. Aug. 23, 2016)




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       Subject to and without waiver of the foregoing general and specific objections, JPMC

admits that Mr. Cutler stated that JPMC should not pay Epstein a fee in connection with the

potential donor advised fund that was discussed but never established.

REQUEST FOR ADMISSION NO. 17:

Admit that Epstein referred Larry Page, co-founder of Google, as a client or for additional activities
or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 17

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 17 because the term “referred” and the

phrase “additional activities or funds” is vague and ambiguous. JPMC will interpret “referred” to

mean that Epstein contacted JPMC about Page becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 17 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 18:

Admit that Epstein referred Sergey Brin, co-founder of Google, as a client or for additional
activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 18

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 18 because the term “referred” and the

phrase “additional activities or funds” is vague and ambiguous. JPMC will interpret “referred” to

mean that Epstein contacted JPMC about Brin becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 18 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).


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       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 19:

Admit that Epstein referred Peter Mandelson, Member of the House of Lords of the United
Kingdom, as a client or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 19

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 19 on the grounds that it seeks information

that is not relevant to any party’s claims or defenses. Fed. R. Civ. P. 26(b)(1). JPMC also objects

to Request No. 19 on the grounds that it misuses Requests for Admission as a discovery device.

See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL 101909, at *2. JPMC also objects to

Request No. 19 because the term “referred” and the phrases “additional activities or funds” are

vague and ambiguous. JPMC will interpret “referred” to mean that Epstein contacted JPMC about

Mandelson becoming a JPMC Private Bank customer. JPMC further objects to Request No. 19

because it is improperly compound and conjunctive. Fed. R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 20:

Admit that Jamie Dimon met with Peter Mandelson after Epstein referred him as a client or for
additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 20

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 20 on the grounds that it seeks information

that is not relevant to any party’s claims or defenses. Fed. R. Civ. P. 26(b)(1). JPMC also objects

to Request No. 19 on the grounds that it misuses Requests for Admission as a discovery device.


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JPMC in or about 2005, was exited by JPMC in or around 2013, and that she was convicted for

criminal sex offenses in 2022.

REQUEST FOR ADMISSION NO. 22:

Admit that Epstein referred Michael Ovitz, former president of The Walt Disney Company, as a
client or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 22

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 22 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 22 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Ovitz becoming a JPMC Private Bank customer. JPMC further

objects to Request No. 22 because it does not specify a time frame. JPMC further objects to

Request No. 22 because it is improperly compound and conjunctive. Fed. R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 23:

Admit that Epstein referred Prince Andrew, Duke of York as a client or for additional activities or
funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 23

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 23 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 23 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean


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that Epstein contacted JPMC about Prince Andrew becoming a JPMC Private Bank customer.

JPMC further objects to Request No. 23 because it is improperly compound and conjunctive. Fed.

R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 24:

Admit that Epstein referred Ed Scott, co-founder of BEA Systems, as a client or for additional
activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 24

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 24 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 24 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

contact JPMC about Scott becoming a JPMC Private Bank customer. JPMC further objects to

Request No. 24 because it is improperly compound and conjunctive. Fed. R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 25:

Admit that Epstein referred Aria Petroleum as a client or for additional activities or funds to
JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 25

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 25 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL


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101909, at *2. JPMC also objects to Request No. 25 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Aria Petroleum becoming a JPMC Private Bank customer.

JPMC further objects to Request No. 25 because it is improperly compound and conjunctive. Fed.

R. Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 26:

Admit that Epstein referred Sultan Ahmed Bin Sulayem as a client or for additional activities or
funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 26

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 26 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 26 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Sulayem becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 26 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 27:

Admit that Jamie Dimon met with Sultan Ahmed Bin Sulayem after Epstein referred him as a
client or for additional activities or funds to JPMorgan’s Private Bank.




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RESPONSE TO REQUEST FOR ADMISSION NO. 27

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 27 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 27 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Bin Sulayem becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 27 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 28:

Admit that Epstein referred Mortimer Zuckerman, Editor-in-chief of U.S. News & World Report,
as a client or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 28

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 28 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 28 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Mortimer Zuckerman becoming a JPMC Private Bank

customer. JPMC further objects to Request No. 28 because it is improperly compound and

conjunctive. Fed. R. Civ. P. 36(a)(2).




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       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 29:

Admit that Epstein referred Robert Lee Burch III, former CEO of Jonathan Engineered Solutions
and member of A.W. Jones’ advisory board, as a client or for additional activities or funds to
JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 29

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 29 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 29 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Burch becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 29 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, admits that

JPM-SDNYLIT-00102986 says that Burch “was referred to us by Jeffrey Epstein’s office for our

banking services.”

REQUEST FOR ADMISSION NO. 30:

Admit that Epstein referred Stephen Salzman, Manager of Priderock Management, LLC, as a client
or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 30

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 30 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL



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101909, at *2. JPMC also objects to Request No. 30 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Salzman becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 30 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 31:

Admit that Epstein referred Thomas Pritzker, chairman and CEO of the Pritzker Organization, as
a client or for additional activities or funds to JPMorgan’s Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 31

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 31 on the grounds that it misuses Requests

for Admission as a discovery device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL

101909, at *2. JPMC also objects to Request No. 31 because the term “referred” and the phrases

“additional activities or funds” are vague and ambiguous. JPMC will interpret “referred” to mean

that Epstein contacted JPMC about Pritzker becoming a JPMC Private Bank customer. JPMC

further objects to Request No. 31 because it is improperly compound and conjunctive. Fed. R.

Civ. P. 36(a)(2).

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies knowledge of any purported referral.

REQUEST FOR ADMISSION NO. 32:

Admit that in 2006 You received, reviewed, or read newspaper or other media articles regarding
Epstein’s arrest for procuring a minor for prostitution and solicitation of a prostitute.




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RESPONSE TO REQUEST FOR ADMISSION NO. 203

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 203 because it does not specify a relevant

time period. JPMC will interpret the relevant time period to be 2013 through the date of these

responses. JPM also objects to the phrases “post-termination review” and “handling of Epstein

accounts” are vague and ambiguous. JPMC will interpret “post-termination review” to mean “any

investigation into JPMC’s client relationship with Epstein after 2013 conducted at JPMC’s

behest.”

       Subject to and without waiver of the foregoing general and specific objections, JPMC

denies Request No. 203.

REQUEST FOR ADMISSION NO. 204:

Admit that Jes Staley was a client sponsor for Epstein.

RESPONSE TO REQUEST FOR ADMISSION NO. 204

       In addition to and specifically incorporating its foregoing General Objections and

Objections to Definitions, JPMC objects to Request No. 204 because the term “client sponsor” is

undefined, vague, and ambiguous.

       Subject to and without waiver of the foregoing general and specific objections, JPMC states

that Staley was the senior person at JPMC with a business relationship with Epstein.




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Dated: May 17, 2023


                                   Respectfully submitted,
                                   By: /s/ John J. Butts

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